                    IN THE UNITED STATES DISTRICT COURT
                FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                             CHARLOTTE DIVISION
                     CIVIL ACTION NO. 3:11CR373-3-FDW-DSC


UNITED STATES OF AMERICA,                              )
                                                       )
                                                       )
           v.                                          )              ORDER
                                                       )
KAMAL ZAKI QAZAH,                                      )
                                                       )
                         Defendant.                    )
_________________________________________________ )



       THIS MATTER is before the Court on Defendant’s “Application for Admission to Practice

Pro Hac Vice” (document #144) for James M. Griffin. For the reasons set forth therein, the Motion

is GRANTED.

       The Clerk is directed to send copies of this Order to counsel for the parties, including but not

limited to moving counsel; and to the Honorable Frank D. Whitney.

       SO ORDERED.

                                                       Signed: June 4, 2012




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